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 4
     Attorney for Defendant
 5   SARAH MATTSON
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                          )   Case No. CR S 08-CR-0093 KJM
12                                                      )
                                 Plaintiff,             )
13                                                      )   STIPULATION AND ORDER
             vs.                                        )   MODIFYING TERMS OF PRETIRAL
14                                                      )   RELEASE TO REMOVE
                                                        )   DEFENDANT FROM PRETRIAL
15                                                      )   SERVICES SUPERVISION
     SARAH MATTSON, et. al.                             )
16                                                      )
                                 Defendants.            )
17                                                      )
18
            IT IS HEREBY STIPULATED by the parties, the UNITED STATES OF
19
     AMERICA, through undersigned counsel, Matthew G. Morris, Assistant U. S. Attorney,
20
     and SARAH MATTSON (“Mattson”) through undersigned counsel, Joseph J. Wiseman,
21   that the conditions of Ms. Mattson’s pretrial release be modified to remove her from
22   pretrial supervision by the Eastern District Pretrial Services office.
23                                            BACKGROUND
24             On April 7, 2008, Ms. Mattson was arraigned on charges related to an alleged
25   mortgage fraud scheme and pleaded not guilty. She was one of 16 defendants named in
26   an indictment, which included charges of conspiracy, mail fraud, and money laundering.
27   The indictment, and a related indictment in which Ms. Mattson was not named, alleged
28   a widespread mortgage fraud scheme run by Charles Head.

     ____________________________________________________________________________________________________
     Stipulation and Order to                              1                                CR S 08-0093 KJM
     Terminate Pre-Trial Supervision
      Case 2:08-cr-00093-KJM Document 949 Filed 06/25/14 Page 2 of 3


 1          Ms. Mattson was released on $150,000 unsecured bond. She was placed on pre-
 2   trial supervision, and since she has lived in Phoenix, Arizona since 2005, the Pretrial
 3   Services Office in the Arizona District supervised her as a courtesy to the local Eastern
 4   District office. Darryl Walker, Ms. Matton’s Pretrial Services Officer has advised that
 5   she has been compliant since under supervision.
 6          On March 3, 2013, Ms. Mattson pleaded guilty pursuant to a plea agreement. She
 7   was released on the same conditions of pre-trial release. On May 16 and 20, 2013, Ms.
 8   Mattson traveled from Phoenix to Sacramento to testify for the government in the trial
 9   of co-defendants Charles and Michael Head. On April 15, 2014, pursuant to a minute
10   order by the Court, Ms. Mattson’s judgment and sentencing hearing was set for
11   September 27, 2014.
12          It has now been more than six years since Ms. Mattson was placed on pre-trial
13   supervision and the parties are not aware of any issues with respect to Ms. Mattson’s
14   compliance during that time. Pretrial Services Officer Walker has indicated to the
15   parties that he has no objection to the Court’s removing Ms. Mattson from pretrial
16   supervision. This is due to the fact that Ms. Mattson has successfully been on supervised
17   release since April 2008; she initially self-surrendered; she has no prior criminal

18   history; and she has appeared for every court appearance as ordered.

19                                            STIPULATION

20          In light of the circumstances set forth herein above, the defendant, SARAH

21   MATTSON, through her counsel of record, Joseph J. Wiseman, and plaintiff United

22   States of America, through its counsel, Matthew G. Morris, agree and stipulate that the

23   conditions of Ms. Mattson’s pretrial release be modified to remove her from pretrial

24   supervision by the Pretrial Services Office of the Eastern District of California. All other

25   /////

26   /////

27   /////

28   /////


     ____________________________________________________________________________________________________
     Stipulation and Order to                              2                                CR S 08-0093 KJM
     Terminate Pre-Trial Supervision
      Case 2:08-cr-00093-KJM Document 949 Filed 06/25/14 Page 3 of 3


 1   conditions of release shall remain in effect.
 2

 3
     Dated: June 19, 2014                           Respectfully submitted,
 4
                                                    WISEMAN LAW GROUP, P.C.
 5
                                                    By: __/s/ Joseph J. Wiseman__
 6                                                        JOSEPH J. WISEMAN
 7                                                          Attorney for Subpoenaed Witness
 8
                                                            SARAH MATTSON

 9
     Dated: June 19, 2014                           Benjamin B. Wagner
10                                                  United States Attorney
11
                                                    By: /s/ Matthew G. Morris
12                                                         MATTHEW G. MORRIS
                                                           Assistant U.S. Attorney
13

14

15

16                                                 ORDER
17          UPON GOOD CAUSE SHOWN, and pursuant to the stipulation of the parties, IT
18   IS HEREBY ORDERED THAT the conditions of Defendant SARAH MATTSON’s pretrial
19   release be hereby modified so as to remove her from pretrial supervision currently
20   conducted through the Pretrial Services Office of the Eastern District of California. All
21   other conditions of release shall remain in effect.
22
     Dated: June 23, 2014.
23

24

25
                                                     UNITED STATES DISTRICT JUDGE
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     ____________________________________________________________________________________________________
     Stipulation and Order to                              3                                CR S 08-0093 KJM
     Terminate Pre-Trial Supervision
